UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

..a. Office of the Solicitor, U.S. Department of Labor, Suite 630E, The Curtis Center, 170 S. Independence Mall W, Philadelphia, PA 19106
Address of Plaintiff:

 

Address of Defendant: Deka Road, Lyon Station, PA 19536

East Penn Manufacturing Complex, Deka Road, Lyon Station, PA 19536
(Use Reverse Side For Additional Space)

Place of Accident, Incident or Transaction:

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) Yes] No
Does this case involve multidistrict litigation possibilities? YesO Nol
RELATED CASE, IF ANY:

Case Number: _17-MC-00179 Judge Gene E, K. Pratter Date Terminated: Ongoing

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

YesO) Nobf

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

vesth NoO
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year ps

terminated action in this court? YesO No

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual? /

YesO NoM

 

CIVIL: (Place W If ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:

1. O Indemnity Contract, Marine Contract, and All Other Contracts 1. O Insurance Contract and Other Contracts
2. O FELA 2. G Airplane Personal Injury

3. DO Jones Act-Personal Injury 3. O Assault, Defamation

4. D Antitrust 4. O Marine Personal Injury

5. 0 Patent 5. O Motor Vehicle Personal Injury

6. O Labor-Management Relations 6, O Other Personal Injury (Please specify)
7. O Civil Rights 7, Q Products Liability

8. O Habeas Corpus 8. O Products Liability — Asbestos

9. O Securities Act(s) Cases 9. O All other Diversity Cases

10.0 Social Security Review Cases (Please specify)

 

11. of All other Federal Question Cases
(Please specify) Fair Labor Standards Act

ARBITRATION CERTIFICATION

(Check Appropriate Category)
1, Oscar L. Hampton It , counsel of record do hereby ccrtify:

Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of

 

$150,000.00 exclusive of interest and costs; -
Relief other than monetary damages is soy,
i

DATE: 3/20/2018 Fe 7
Attorney-at-Law /- f Attorney .D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

a MO 36778

 

 

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

DATE: 3/20/2018 MO 36778
Attorncy-at-Law Attorney I.D.#
CIV. 609 (5/2012)
